

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-80,973-01






EX PARTE CURTIS ADAMS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. D-1-DC-11-904084-A IN THE 299TH DISTRICT COURT


FROM TRAVIS COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault and sentenced to twenty years' imprisonment.

	Applicant contends that he was denied his right to appeal the conviction and sentence through
no fault of his own. See Adams v. State, No. 03-12-00176-CR (Tex. App.--Austin del. May 9, 2012)
(dismissing appeal for want of jurisdiction); Ex parte Riley, 193 S.W.3d 900 (Tex. Crim. App.
2006); Ex parte Crow, 180 S.W.3d 135, 138-39 (Tex. Crim. App. 2005). The trial court recommends
granting Applicant an out-of-time appeal, and the recommendation is supported by the habeas record.


	Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment of
conviction in Cause No. D-1-DC-11-904084 from the 299 District Court of Travis County. 
Applicant is ordered returned to that time at which he may give a written notice of appeal so that he
may then, with the aid of counsel, obtain a meaningful appeal. 

	Within ten days of the issuance of this opinion, the trial court shall determine whether
Applicant is indigent.  If Applicant is indigent and wishes to be represented by counsel, the trial court
shall immediately appoint an attorney to represent Applicant on direct appeal.  All time limits shall
be calculated as if the sentence had been imposed on the date on which the mandate of this Court
issues.  We hold that, should Applicant desire to prosecute an appeal, he must take affirmative steps
to file a written notice of appeal in the trial court within 30 days after the mandate of this Court
issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: March 19, 2014

Do not publish



